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12 Michael Wheeler
13
                      IN THE UNITED STATES DISTRICT COURT
14
                            FOR THE DISTRICT OF ARIZONA
15
16 Michael Wheeler,                                Case No.: 2:17-cv-03328-JAT
17
                    Plaintiff,
18
          vs.                                      NOTICE OF SETTLEMENT AS TO
19
                                                   DEFENDANT TRANS UNION, LLC,
20 Trans Union, LLC, et al.,                       ONLY
21
                    Defendants.
22
23
           NOTICE IS HEREBY GIVEN that Plaintiff and Defendant, Trans Union, LLC,
24
25 in the above-captioned case have reached a settlement. The parties anticipate filing a
26 Stipulation of Dismissal with Prejudice as to Defendant Trans Union, LLC, ONLY,
27
   pursuant to Fed. R. Civ. P. 41(a) within 60 days.
28
                                               1
     Case 2:17-cv-03328-JAT Document 52 Filed 08/02/18 Page 2 of 2



 1    RESPECTFULLY SUBMITTED this 2nd day of August, 2018.
 2
 3                                     KENT LAW OFFICES
 4
 5
                                       By: /s/ Trinette G. Kent
 6                                     Trinette G. Kent
 7                                     Attorney for Plaintiff,
                                       Michael Wheeler
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